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 8                                  UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 2:12-cr-0051 MCE CKD P
12                       Respondent,
13           v.                                        ORDER
14   VALENTINA BEKNAZAROV,
15                       Movant.
16

17           Movant, proceeding pro se, has filed a motion to vacate, set aside, or correct her sentence

18   pursuant to 28 U.S.C. § 2255. Under Rule 4 of the Rules Governing Section 2255 Cases, the

19   court must review all § 2255 motions and summarily dismiss any motion if it is plain that the

20   movant is not entitled to relief.

21           In her motion, movant does not state a factual or legal basis for relief. Rather, she points

22   to attachments and seemingly directs the court to discern the basis for relief from them. This is

23   not appropriate. Good cause appearing, movant’s § 2255 motion will be denied without prejudice

24   and with leave to amend. If movant elects to amend, she must articulate the basis of her claim in

25   the body of her motion and not simply point to attachments. If movant does not file an amended

26   motion, the court will recommend that this § 2255 action be closed.

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28   /////
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     Case 2:12-cr-00051-MCE-CKD Document 139 Filed 11/09/17 Page 2 of 2


 1           Accordingly, IT IS HEREBY ORDERED that:

 2           1. Movant’s § 2255 motion is denied without prejudice and with leave to amend within

 3   30 days. If movant elects to amend, her amended motion must be filed on the form provided by

 4   the Clerk of the Court, must comply with this order and must include the docket number assigned

 5   to this case on her amended motion. Failure to comply with this order will result in a

 6   recommendation that this § 2255 action be closed.

 7           2. The Clerk of the Court is directed to send movant the court’s form for habeas relief

 8   under 28 U.S.C. § 2255.

 9   Dated: November 9, 2017
                                                     _____________________________________
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                                                     CAROLYN K. DELANEY
11                                                   UNITED STATES MAGISTRATE JUDGE

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